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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                              NEW ALBANY DIVISION

 IN RE:                                        )        Chapter 11
                                               )
 EASTERN LIVESTOCK CO., LLC,                   )        Case No. 10-93904-BHL-11
                                               )
                      Debtor.                  )        Hon. Basil H. Lorch III


               MOTION TO APPROVE COMPROMISE AND SETTLEMENT
           WITH TENNESSEE VALLEY LIVESTOCK PURSUANT TO RULE 9019

          Pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure, James A.

 Knauer, as chapter 11 trustee (the "Trustee") for Eastern Livestock Co., LLC (the

 "Debtor"), by counsel, hereby files this motion (the "Settlement Motion") requesting the

 Court's approval of a compromise and settlement of claims between the Trustee and

 Tennessee Valley Livestock ("Tennessee Valley") pursuant to the terms and conditions

 set forth in the Settlement Agreement and Mutual Release substantially in the form

 attached hereto as Exhibit A (the "Settlement Agreement").              In support of this

 Settlement Motion, the Trustee respectfully represents the following:

                                Introduction and Background

          1.   Certain petitioning creditors commenced the above-captioned chapter 11

 case (the "Chapter 11 Case") against the Debtor on December 6, 2010, by filing an

 involuntary petition for relief under chapter 11 of title 11 of the United States Code. This

 Court entered the Order for Relief in An Involuntary Case and Order to Complete Filing

 [Doc. No. 110] on December 28, 2010.
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           2.      On December 27, 2010, the Court entered the Order Approving the

 Appointment of James A. Knauer as Chapter 11 Trustee [Doc. No. 102] pursuant to 11

 U.S.C. § 1104.

           3.      On January 25, 2012, the Trustee filed the Trustee's Motion to Approve

 Certain Preference Avoidance Protocols and Terms of Settlement [Doc. No. 977] (the

 "Preference Protocol Motion"). The Court entered its Order Granting Trustee's Motion

 to Approve Certain Preference Avoidance Protocols and Terms of Settlement on

 February 15, 2012 [Doc. No. 1035]                     (the "Preference Protocol Order"), pursuant to

 which the Court authorized the Trustee to settle the Trade Preferences1 in the sums of

 the Estimated Net Exposure without further order of the Court.


           4.      Based on his investigation, the Trustee has concluded that Tennessee

 Valley received not less than $259,863.30 in transfers from the Debtor (collectively, the

 "Transfers"). On April 16, 2012, the Trustee made demand on Tennessee Valley for

 avoidance and recovery of the Transfers (the "Preference Claim") and offered to settle

 the Preference Claim in the sum of $26,765.84, representing Tennessee Valley's

 Estimated Net Exposure as calculated by the Trustee.


           5.      The Trustee commenced Adversary Proceeding No. 12-59027 against

 Tennessee Valley on June 8, 2012 to avoid and recover the Transfers. Subsequent to

 June 8, 2012, Tennessee Valley has provided information to the Trustee that arguably

 reduces Tennessee Valley's Estimated Net Exposure to the sum of $23,218.61.


 1
     Capitalized terms not otherwise defined herein shall have the meaning set forth in the Preference Protocol
      Motion.
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        6.    To avoid the cost, expense, and delay of litigation, Tennessee Valley is

 willing to make immediate payment of $23,218.61 (the "Settlement Amount") in

 satisfaction of the Preference Claim, provided the Court enters a final, non-appealable

 order approving this Settlement Motion (the "Settlement Order"). Tennessee Valley

 has, in fact, tendered this amount to the Trustee to be held in a trust account controlled

 by the Trustee while this matter is pending.


       7.     In the exercise of his sound business judgment, the Trustee has

 determined that a settlement of the Preference Claim in the Settlement Amount is in the

 best interests of the Debtor's estate and its creditors.


 The Settlement

        8.    The Trustee requests that the Court approve the compromise and

 settlement of claims between the Trustee and Tennessee Valley pursuant to the terms

 and conditions set forth in the Settlement Agreement. The Trustee is seeking court

 approval of the Settlement Agreement because the Settlement Amount is less than the

 sum of the Estimated Net Exposure as approved by the Preference Protocol Order.

 Basis for Relief

        9.    Pursuant to Bankruptcy Rule 9019(a), this Court has authority to approve a

 compromise or settlement after notice and opportunity for a hearing. Under Bankruptcy

 Rule 9019, a bankruptcy court should approve a proposed compromise if it is fair and

 equitable and in the best interests of the estate.           Protective Comm. for Indep.

 Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968); In re
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 Doctors Hosp. of Hyde Park, Inc., 474 F.3d 421, 426 (7th Cir. 2007). The Seventh

 Circuit has offered the following guidance to courts in making such determinations:


                 The linchpin of the “best interests of the estate” test is a
                 comparison of the value of the settlement with the probable costs
                 and benefits of litigating. Among the factors the court considers are
                 the litigation's probability of success, complexity, expense,
                 inconvenience, and delay, “including the possibility that
                 disapproving the settlement will cause wasting of assets.”

        In re Doctors Hosp. of Hyde Park, Inc., 474 F.3d at 426 (citations omitted).

         10.    Although the Trustee believes there is legal and factual support for the

 Preference Claim, settlement avoids the costs, expense, delay, and uncertainties of

 litigation.   Litigation creates additional costs and expenses for the Debtor's estate and

 will thereby further deplete the estate. When evaluating the proposed settlement, the

 Trustee considered (i) the expenses the Debtor's estate would incur in litigating the

 Preference Claim, (ii) the probability of success in prosecuting the Preference Claim in

 light of the asserted defenses, and (iii) the best interests of the Debtor's estate and its

 creditors.

         11.    Pursuant to the exercise of his sound business judgment, the Trustee

 believes that the compromise and settlement reflected in the proposed Settlement

 Agreement is fair and equitable and in the best interests of the estate.

        12.     Notice of this Settlement Motion will be provided to all creditors, the United

 States Trustee, all counsel of record, and any other entity that the Court may direct, as

 provided in Bankruptcy Rules 2002 and 9019.


         WHEREFORE, if no objections to this Settlement Motion are filed, the Parties

 request that the Court enter the Settlement Order approving the Settlement Agreement.
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 A proposed form of order is attached as Exhibit B. If any objections to this Settlement

 Motion are filed, the parties request that this Settlement Motion and any timely filed

 objection be scheduled for hearing by the Court on the earliest date that is available and

 convenient to the Court. The Trustee requests that any notice of this motion include

 language that any objection to this Settlement Motion set forth with specificity any claim

 that the objecting party has to the Settlement Amount.

                                          Respectfully submitted,

                                          KROGER, GARDIS & REGAS, LLP

                                          By: /s/ Jay P. Kennedy

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on November 1, 2012, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
 Electronic Case Filing System. Parties may access this filing through the Court's system.
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